         Case 21-31811 Document 2 Filed in TXSB on 06/01/21 Page 1 of 2




                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

IN RE:                                           §
                                                 §        CASE NO. 21-31811
1917 HEIGHTS HOSPITAL, LLC                       §
                                                 §
                                                 §
               DEBTOR                            §            CHAPTER 11
                                                 §

               NOTICE OF APPEARANCE AND REQUEST FOR NOTICES

       H. Miles Cohn, as counsel for Arbitra Capital Partners, LLC, files this Notice of Appearance

pursuant to Bankruptcy Rule 9010(b) and this Request for Notices pursuant to Rule 2002(g).

       The undersigned has been retained by Arbitra Capital Partners, LLC and requests that

copies of allpleadings, orders, notices and other papers filed or issued in this case be served on him

electronically or at the address stated below.

       Dated: June 1, 2021

                                           Respectfully submitted,

                                           CRAIN, CATON & JAMES, P.C.

                                           By: /s/H. Miles Cohn
                                           H. Miles Cohn
                                           mcohn@craincaton.com
                                           Texas State Bar No. 04509600
                                           Michelle V. Friery
                                           mfriery@craincaton.com
                                           Texas State Bar No. 24040934
                                           1401 McKinney Street, 17th Floor
                                           Five Houston Center
                                           Houston, Texas 77010-4035
                                           Telephone (713) 752-8668
                                           Facsimile (713) 658-1921
                                           ATTORNEYS FOR ARBITRA CAPITAL
                                           PARTNERS, LLC
          Case 21-31811 Document 2 Filed in TXSB on 06/01/21 Page 2 of 2




                                 CERTIFICATE OF SERVICE

        I certify that a true and correct copy foregoing Notice of Appearance and Request forNotices

has been served on June 1, 2021, by ECF electronic service, to Debtor’s counsel, the U.S. Trustee, and

all parties requesting notice.

                                                           /s/H. Miles Cohn
                                                             H. Miles Cohn




                                                 2
